                      Case 2:20-cr-00055-MLCF-KWR Document 1-2 Filed 06/26/20 Page 1 of 1
                                                                                                    20-0                                     8l®.C. 3170
                             DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION ■ IN U.S. DISTRICT COURT

BY: □ INFORMATION [7] INDICTMENT                                                  CASE NO.


Matter Sealed: I I Juvenile    □ Other Utan Juvenile                                   USA vs.
r~| Pre-lndictment Plea Q Superseding Q Defendant Added                                            JASON R. WILLIAMS
                                                                                   Defendant:
                               □ Indictment          □ Charges/Counts Added
                               n Information
Name of District Court, and/or Judge/Magistrate Location (City)                    Address:
                                                                                                   New Orleans, LA
UNITED STATES DISTRICT COURT                     EASTERN
DISTRICT OF LOUISIANA                            Divisional Office

                                   Denise Ouhon
Name and Office of Person                                   ■ ■
Furnishing Information on           Su.S. Atty        LJother U.S. Agency
THIS FORM                            Phone No, (337)262-6618                                Interpreter Required      Dialect:
 Name of Asst.
 U-S.Attomey           Kelly P. Uebinger
 (if assigned)                                                                                                               IZl Male          □ Alien
                               PROCEEDING
                                                                                                                             □ Female          (if applicable)
 Name of Complainant Agency, or Person (& Title, if any)
                                                                                                                           VY-1386
 Internal Revenue Service, SA Timothy Moore                                          Social Security Number

           person is awaiting trial in another Federal or Stale Court
           (give name of court)                                                                                    DEFENDANT



                                                                                   Issue:     I   I Warrant      [7] Summons
   I I     this person/proceeding transferred from another district
   '—'     per (circle one) FRCrP 20. 21 or 40. Show District
                                                                                   Location Status:

                                                                                   Arrest Date.               or Date Transferred to Federal Custody.
  j I this is a reprosecution of charges
  '—' previously dismissed which were                                                n Currently in Federal Custody
           dismissed on motion of:
                                                                                     □ Currently in State Custody
            n U.S. Atty n Defense
                                                                  SHOW                   □ Writ Required
                                                            DOCKET NO.
  □ this prosecution relates to a                                                    □ Currently on bond
          pending case involving this same
          defendant. (Notice of Related                                              □ Fugitive
          Case must still be filed with the
          Clerk.)
  I I prior proceedings or appearance(s)                     MAG. JUDGE
                                                              CASE NO.
                                                                                  Defense Counsel (if any): William P. Gibbens
          tiefore U.S. Magistrate Judge
          regarding this defendant were
          recorded under
                                                                                       □ FPD          □ CJA         [3 RET'D

Place of Orleans Parish
                                                                                              □ Appointed on Target Letter
offense


                                                                                   □ This report amends AO 257 previously submitted
      OFFENSE CHARGED - U.S.C. CITATION • STATUTORY MAXIMUM PENALTIES • ADDITIONAL INFORMATION OR COMMENTS

Total # of Counts.                            (for this defendant only)

                                                                                            Description of Offense Charged                         Count(s)
             Title 18, U.S.C., Section 371                                  Conspiracy to Defraud the United States

             Title 26, U.S.C., Section 7206(2)                              Aiding and Assisting in Preparation and Presentation of
                                                                            False and Fraudulent Returns, Statements or Other Docs

             Title 31, U.S.C., Sections 5331 and 5332                       Failure to File Forms 8300 Relating to Cash Received
                                                                            in Trade or Business
